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                                   STORCH AMINI PC
Steven G. Storch                                                                                212.497.8216
MEMBER NY & IL BARS                                                                 sstorch@storchamini.com




                                                         August 5, 2019

      By ECF

      Honorable Vincent L. Briccetti
      United States Courthouse
      300 Quarropas Street, Room 630
      White Plains, New York 10601

      Re: Kossoff v. Continental Casualty Company, No. 7: 19-cv-4696

      Dear Judge Bricetti :

             We represent the Plaintiffs in this action. We write to request that Your Honor so order
      the enclosed stipulation extending Defendant ' s time to respond to the Complaint by two weeks,
      to August 19, 2019. There has been no prior request for an extension of time in connection with
      this matter.

                                                         Sincerely,

                                                         Isl
                                                         Steven Storch

      Enclosure

      cc:    Todd A. Bromberg (tbromberg@wileyrein.com)
             Richard Simpson (rsimpson@wileyrein.com)




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